
In re: Pearl Lee George applying for writs of certiorari, mandamus and prohibition.
The petition of the relator in the above entitled and numbered case having- been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable C. A. Barnett, Judge of the 19th Judicial District Court for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 18th day of December, 1964, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator here*867in, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through its attorney shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
